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                                                                                            9W3“     ?
                                                                                                         ‘9?



                                                                                       if?“ Iii/f???#4, L4
                                                             “WNW. m- 44::5% 6.;253
                                                                        Elvﬁbéﬂﬁ Kg
                                                         w
                                                                           {Knmlnmﬁuf
                                                                           5
                                                               r...» ,v" qmwwz,    . . “Mm/“m




                                                                                   n   :3    13
                                                                        SE?


                                                                  Ton ann ma «MT—71;?
                                                                 :7;
                                                             ,
                                                                 MM,    WMMV~H___DMU Limit;                j



                                                                       w       ,




                                            (:WR)   mar/,6,             1w»
             9

      5mg“            Lclwsjvﬂgz2337‘3/ 0.th                 WV            Vﬁgﬁjﬂ
      gar“       £13K“   ”him”     ‘71”63   Edd SS      L5¢Ld) 8/ OK}
      ill3&/17ﬁ7dlgC/ﬁmm%                              mm»         RT      ra/TuﬁﬁL6M
      7%}       0/? ‘Hﬁa FBI/61W wr’fW/ﬂﬁ'"
                 An?"
      31:5 "g3fzfpﬁryrm; QTHU“? Me? rﬁawg/Q/Z
            fry? Khaki/ﬁg ﬂit/W 7L/ C /Qa7‘:/zi.£//Z2w
      «ti/kyw
      6mm            {5     66:;ngc: fﬁf                ﬁ¥~fﬂaé                             7%       WV
       Cf” CWCIQ cQ’J/QQKCWZ//(Aé/ﬂza& ,L
      [5r m/f aﬂ‘éﬁ/ 7450/ /){ xc/ﬁ/ gold/mm?                              7%1

       \fﬁ/ éﬁ‘mﬁé’ﬁ rfve (ﬁﬁéﬂ ”0‘ ﬁrmaA/,
  '
      2A) 7‘ﬂ/3 ”F77” (x256, z/w/x’ L/J/xc’L
      EA" wvﬂif’ g//V*§Qx/‘l’{,» 54y Jﬁwa 09 [:5
                 _




      277m [’7 WM/C/rx Mﬂ/i 0v?” ﬁbﬂﬁvﬁf
      GA.) 5"”?                //a 77/5             JP/M7‘EMSC? W49;                                           S
      r/évtdb7b‘if5/ GL/v ﬂ/I FF/Vﬁ/U/‘J/‘Eif/                                               éﬂé /<)
      ‘%©"           7%6 /QW@T                 Cup/Ff), 5%                                  fvﬂﬁ
      saga        a 2‘“ (”a M?         X’ 2;} x}?   g/
                                                   ma/                                            i"
             WK/ﬁO %€;Q///¥/§ tux/7M5/4 “/7465 ﬂmi
                                                    FM
      7?"
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     ,
              W”      “n“
                    (MW
                          f
                              rf
                              3‘     s.




                                           a; a: i
                                              ,
                                                               U
                                                               ~

                                                          f?! (if?   *5);               v {fa oit‘vsa
                                                                                                        ,
                                                                                                                  <‘%‘{m   9;
                    560%”; 9’93,                    19?        SC T13 rmj               81%:   {V}   <9,»   ("A/QC)
                    <““°¥F‘i"v~ Pr}                      4:?»            ‘FT         {hﬁxd     4(31};
                    CkﬂCi “C5                     (”C3
                                                     a
                                                           'M5‘ﬁ‘0xﬁ‘i’                  myf ‘©(J\\\
                    a {if}  ESCIT P“                               ﬂ‘i'f/ NBC; xxx/9,», Fig) (0%“;                          :3




                    if)                a?
                          0%! Clack/‘3" a:                           :3er wk WM @dﬁ
                    r7591}?         6/75;    «VP/w gm                    ﬁ‘C’V ma, Tf" m5“
                    Main/363‘        +©             ﬁﬁxﬁ            g5: ﬁnai‘; MI: :ﬁdej‘Y/‘x                              :5
                    :i: irbpS/“Zﬁr «mg; mg
                    gﬂaucm
                                   9%,     mu
                                              \    Wm?


                                                               Qﬂ
                                                                   C30         wﬁ‘é
                                                                                3
                                                                                             0W6?

                                                                                      jvaﬂﬂ“) mmﬂz
                                                                                                             3:35:13
                                                                                                            74:

                    rﬁff‘Q/d                       ‘ft’ﬂr‘r ”‘wmQ‘W’CQT acriL
              £36 qﬂlfvagf‘aam} D0 LNK,‘          HJM)                                       “‘1th
               3-3 ﬁﬁg‘i” 33 Jazz”? ﬁFhﬂﬂfﬁkﬂ/z Q'fKQ/
         ,,    Wiﬁ'tﬂ ﬁn? 5‘; (VQMDTFFéggw ;/”é?a2/ $< Sm
                    ﬁqgf+kx” trj&%ﬂ                                            f?!   3"”/ /      W???       3-75     2/
                    ﬁﬂLfizi/‘v ﬁf‘: 2A1    [2"?                      “fﬁw‘fp ﬁ// 5:7A/
                                                                          77“

                     AM7%            ﬂ: 539/
                                                          i)   guialg ‘7’“?U/ ”iii/f???                              €
                                                                                                                                 3:




                «Mgéﬁf               {2%     WW5          fj/M7ZED iagfizﬂ¢d%ﬂ7”ﬁﬂﬁg
    ,1               ﬂaggibﬁiﬂﬁ                     ("f/L543 77:3 Q/aﬁf‘rbﬁm “(V/
              VFW/Ar                      7%)       fT/rufﬁg
                                                      /"/§L4//%                                                     ﬂ//
              .{x




                     TéjvjﬁC‘VL/M A/ div/ﬁr?” (”)A/ fj2i7é/ 7173/”
                     Cgi/SI’ )C’Lﬂj ”d {/(g/   j"\/\/(" fix/I:— 74                             72“



                      as: W910“ 71/x1fg‘f// ”Jud/M” kg}? 2%? [[73
              7/54?
                    ’//34{;AJ/          (if 7wﬂw7grxsjfﬂﬁa/VV ﬁ/‘wz
                                  i/[ﬁ/EV
                          Fﬁ/{Jﬁ'fi/WV/y {£6}! hiya/ﬂ 70 {M34 44?:
                                                                   64%



                                                                                                                           s
                                                                                                                           zav/v
